
PER CURIAM.
We affirm this Anders1 appeal in all respects. However, we remand for a correction of a scrivener's error on the judgment and sentence. Appellant was convicted *1150of the lesser included offense of robbery with a mask, pursuant to section 812.13(2)(c), Florida Statutes (2017), but the judgment and sentence erroneously cites to section 812.13(2)(a), Florida Statutes, corresponding to the offense of robbery with a firearm or deadly weapon.
AFFIRMED; REMANDED FOR CORRECTION OF SCRIVENER'S ERROR.
ORFINGER, LAMBERT, and SASSO, JJ., concur.

Anders v. California , 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967).

